The case was submitted, without argument by Hawks for the appellant, andGaston for the appellee.
A possession of thirty-five years under an act of Assembly must doubtless be considered a good title in law, according to the reason of all the decisions which have been made touching color of title. It is not perceived on what ground any valid objection could be made to it; for every presumption is to be made in favor of an act of the Legislature, and supposing it to be unconstitutional, non constat that this was known to the defendants, and it still afforded a color of title. The judgment must be
PER CURIAM.                                                 Affirmed.
Cited: Kron v. Hinson, 53 N.C. 348; McConnell v. McConnell. 64 N.C. 344;Ellington v. Ellington, 103 N.C. 58; Neal v. Nelson, 117 N.C. 405;Burns v. Stewart, 162 N.C. 366. *Page 134 
(235)